Case 1:11-cv-02658-JBS-KMW Document 94 Filed 12/20/13 Page 1 of 3 PageID: 3645



                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY



  CITY SELECT AUTO SALES, INC.,
                 Plaintiff,
                                                  Civil Action
       v.                                    No. 11-2658 (JBS-KMW)

  DAVID RANDALL ASSOCIATES,
  INC., et al.,                                       ORDER

                   Defendants.



      Before the Court are three motions: Plaintiff’s renewed

 motion for class certification [Docket Item 60], Plaintiff’s

 motion for leave to cite supplemental authority [Docket Item

 86], and Defendants’ motion for leave to cite supplemental

 authority [Docket Item 92]. The Court having heard oral argument

 on October 23, 2013; for the reasons explained in the Opinion of

 today’s date and for good cause shown;

      IT IS this       20th       day of     December     , 2013 hereby

      ORDERED that Plaintiff’s renewed motion for class

 certification [Docket Item 60] is granted; and it is further

      ORDERED that Plaintiff City Select Auto Sales, Inc. shall

 be the class representative; and it is further

      ORDERED that the class definition will be:
Case 1:11-cv-02658-JBS-KMW Document 94 Filed 12/20/13 Page 2 of 3 PageID: 3646



      All persons or entities, with whom David Randall
      Associates did not have an established business
      relationship, who were successfully sent one or more
      unsolicited faxes during the period March 29, 2006,
      through May 16, 2006, stating, “ROOF LEAKS??? REPAIRS
      AVAILABLE Just give us a call and let our professional
      service technicians make the repairs!” and “CALL:
      David/Randall Associates, Inc. TODAY.”

      and it is further

      ORDERED that the class claims or issues, pursuant to Rule

 23(c)(1)(B), are (1) whether the B2B hard drive evidence is

 admissible; (2) whether Defendants’ fax constitutes an

 advertisement; (3) whether Defendants violated the TCPA by

 sending the advertisements without permission of the recipients;

 (4) whether Plaintiff and other class members are entitled to

 statutory damages; (5) whether Defendants’ actions were willful

 and knowing under the TCPA and, if so, whether the Court should

 treble the statutory damages; and (6) whether the Court should

 enjoin Defendants from future TCPA violations; and it is further

      ORDERED that Sherman, Silverstein, Kohl, Rose & Podolsky,

 P.A. and Bock & Hatch, LLC are appointed class counsel; and it

 is further

      ORDERED that Plaintiff’s motion to cite additional

 authorities [Docket Item 86] and Defendant’s motion to cite

 additional authorities [Docket Item 92] are granted nunc pro

 tunc and those have been considered; and it is further


                                      2
Case 1:11-cv-02658-JBS-KMW Document 94 Filed 12/20/13 Page 3 of 3 PageID: 3647



      ORDERED that Class Counsel shall file a motion for court

 approval of notice to the class and a proposed form of such

 notice within twenty-one (21) days of the entry of this Order,

 unless all counsel consent to the form of such notice.


                                                s/ Jerome B. Simandle
                                               JEROME B. SIMANDLE
                                               Chief U.S. District Judge




                                      3
